          Case 1:14-vv-00097-UNJ Document 30 Filed 10/24/14 Page 1 of 2




       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                            No. 14-97V
                                      Filed: October 1, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
ROBERT PETRUCELLI,            *
                              *                               Special Master Gowen
          Petitioner,         *
                              *                               Joint Stipulation;
v.                            *                               Attorneys’ Fees and Costs;
                              *
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Anne C. Toale, Maglio Christopher & Toale, Sarasota, FL, for petitioner.
Gordon E. Shemin, United States Department of Justice, Washington, DC, for respondent.

                     DECISION ON ATTORNEYS’ FEES AND COSTS1

        On February 4, 2014, Robert Petrucelli (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that as a result of receiving an influenza (“flu”) vaccine on or about August 31,
2012, he developed Guillain Barre Syndrome (“GBS”). Petition at ¶¶ 1, 6. On September 25,
2014, the parties filed a stipulation in which they agreed to an award of compensation to
petitioner. On the same day, the undersigned issued a Decision adopting the parties’ stipulation
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                 1
         Case 1:14-vv-00097-UNJ Document 30 Filed 10/24/14 Page 2 of 2



for an award. See Decision on J. Stip., filed Sept. 25, 2014.

        On September 30, 2014, the parties filed a stipulation of fact concerning attorneys’ fees
and costs, attached hereto as Appendix A. Petitioner requests a total award of attorneys’ fees and
costs in the amount of $17,447.52. In accordance with General Order #9, petitioner represents
that he did not personally incur costs related to the litigation of this matter. See Stipulation of
Fact Concerning Attorneys’ Fees and Costs at ¶ 5, filed Sept. 30, 2014.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of petitioner’s motion, the undersigned GRANTS the
request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

       (1) in the form of a check jointly payable to petitioner and to petitioner’s attorney, Anne
       C. Toale, of Maglio Christopher & Toale in the amount of $17,447.52.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance herewith.3

       IT IS SO ORDERED.


                                             s/ Thomas L. Gowen
                                             Thomas L. Gowen
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                 2
